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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 12-0149CCC
 1) XENYA TAIMI RIVERA-RIVERA
 2) JULIA ELENA RIVERA-MONTIJO
 Defendants


                                            ORDER

       Having considered the Report and Recommendation filed on October 23, 2012
(docket entry 94) on a Rule 11 proceeding of defendant Xenya Taimí Rivera-Rivera (1) held
before U.S. Magistrate Judge Silvia Carreño-Coll on October 12, 2012, to which no objection
has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that her plea was voluntary and intelligently entered with
awareness of her rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since October 12, 2012.        The sentencing hearing is set for
January 31, 2013 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on November 15, 2012.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
